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                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF LOUISIANA

DENISE A. BADGEROW,       * CIVIL ACTION NO. 2:19-cv-10353
                          *
              Plaintiff,  * JUDGE JAY C. ZAINEY
    v.                    *
                          * MAG. DONNA CURRAULT
GREG WALTERS, THOMAS      *
MEYER, AND RAY TROSCLAIR, *
              Defendants  *
                          *
********************************************************

                     ORDER OF DISMISSAL WITH PREJUDICE

      Considering the foregoing Joint Stipulation of Dismissal executed by the parties:


      IT IS HEREBY ORDERED that the above and foregoing matter is dismissed,

with prejudice, with each party to bear its own costs and attorney’s fees.

      NEW ORLEANS, LOUISIANA this _____ day of ______________________, 2022




                                  HONORABLE JUDGE JAY C. ZAINEY




                                                                               NO\347169.v1
